        Case 23-10763-amc          Doc 822-1 Filed 11/27/24 Entered 11/27/24 14:07:26                   Desc
                                         Attachements Page 1 of 3

Exhibit A
Bank Reconciliation October 2024

                                                         Chapter 11 Trustee Account
                                            TriState Capital TriState Capital TriState Capital
                               Key Bank       Bank x4746        Bank x4753        Bank x7244         Totals
Beginning Bank Balance       $       226.00 $            -    $    940,925.89 $            -     $   941,151.89
           Receipts:
Deposits                     $          -    $           -    $           -    $           -     $          -
Transfers In                 $          -    $           -    $           -    $           -     $          -
           Sub-Total         $          -    $           -    $           -    $           -     $          -
       Disbursements:
Checks & Debits              $          -    $           -                     $           -     $          -
Transfers Out                $          -    $           -    $           -    $           -     $          -
          Sub-Total          $          -    $           -    $           -    $           -     $          -
Ending Bank Balance          $       226.00 $            -    $    940,925.89 $            -     $   941,151.89
                                        TriState Capital Bank
             Case 23-10763-amc     Doc301
                                       822-1        Filed
                                           Grant Street, STE 11/27/24
                                                             2700       Entered 11/27/24 14:07:26                       Desc
                                           Attachements
                                      Pittsburgh PA 15219         Page 2 of 3
                                                                                                                             Period Covered:
                                                                                                         October 01, 2024 - October 31, 2024
                                                                                                                                 Page 1 of 2
Mr. William A. Homony                                           Case Number                                                        23-10763
1628 John F. Kennedy Blvd.                                      Case Name                                          Stream TV Networks, Inc.
Suite 950                                                                                                                        DEBTOR
Philadelphia PA 19103
                                                                Trustee Number                                                       580192
                                                                Trustee Name                                           Mr. William A. Homony
                                                                                                                                    TRUSTEE

                                                                                                                                 Questions:
                                                                                                                               800.634.7734
                                                                                                               banking.services@stretto.com
                                                                                                                            www.stretto.com
Consolidated Balance Summary

                                                                                                  Ending Balance          Ending Balance
Account                                                                               Number
                                                                                                     Prior Period            This Period
Checking Account
  TRUSTEE CHECKING                                                                       4746                  $0.00                  $0.00
  TRUSTEE CHECKING                                                                       4753            $940,925.89            $940,925.89
  Total                                                                                                  $940,925.89            $940,925.89


TRUSTEE CHECKING                                                                                       Account Number:                4746

Enclosures                                                  0   Beginning Balance                                                     $0.00
                                                                  + Total Additions                                                   $0.00
                                                                  - Total Subtractions                                                $0.00
                                                                Ending Balance                                                        $0.00


Daily Balances

Date                              Amount      Date                                Amount        Date                                Amount
09-30                               $0.00


TRUSTEE CHECKING                                                                                       Account Number:                4753

Enclosures                                                  0   Beginning Balance                                               $940,925.89
                                                                  + Total Additions                                                   $0.00
                                                                  - Total Subtractions                                                $0.00
                                                                Ending Balance                                                  $940,925.89


Daily Balances

Date                              Amount      Date                                Amount        Date                                Amount
09-30                          $940,925.89
                                                          TriState Capital Bank
              Case 23-10763-amc                    Doc301
                                                       822-1        Filed
                                                           Grant Street, STE 11/27/24
                                                                             2700       Entered 11/27/24 14:07:26                                   Desc
                                                           Attachements
                                                      Pittsburgh PA 15219         Page 3 of 3
                                                                                                                                                        Period Covered:
                                                                                                                                    October 01, 2024 - October 31, 2024
                                                                                                                                                            Page 2 of 2
                                                                    ERROR RESOLUTION NOTICE

In case of errors or questions about your electronic transfers, call, email or write us at the telephone number, email address or mailing address listed below, as
soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer listed on the statement or receipt. We must hear
from you no later than 60 days after we sent the FIRST statement on which the problem or error appeared.


               1. Tell us your name and account number (if any).
               2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error or why you need more
                  information.
               3. Tell us the dollar amount of the suspected error.


If you tell us orally, we may require that you send us your complaint or question in writing within 10 business days. We will determine whether an error occurred
within 10 business days (5 business days for debit card point-of-sale transactions and 20 business days if the transfer involved a new account) after we hear from
you and will correct any error promptly. If we need more time, however, we may take up to 45 days (90 days if the transfer involved a new account, a point-of-sale
transaction, or a foreign-initiated transfer) to investigate your complaint or question. If we decide to do this, we will credit your account within 10 business days for
the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation.


If we ask you to put your complaint or question in writing and we do not receive it within 10 business days, we may not credit your account. Your account is
considered a new account for the first 30 days after the first deposit is made, unless each of you already has an established account with us before this account is
opened. We will tell you the results within three business days after completing our investigation. If we decide that there was no error, we will send you a written
explanation. You may ask for copies of the documents that we used in our investigation.


Stretto
410 Exchange
Suite 100
Irvine CA 92602
Phone: 800-634-7734

Email: Banking.Services@Stretto.com
